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                    IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF KANSAS


UNITED STATES OF AMERICA,                     )
                                              )
                         Plaintiff,           )       CRIMINAL ACTION
                                              )
v.                                            )       No.    04-40141-MLB
                                              )
ARLAN KAUFMAN and LINDA KAUFMAN,              )
                                              )
                         Defendant.           )
                                              )

                               MEMORANDUM AND ORDER
       This case comes before the court on defendants’ joint motion to
dismiss for preindictment delay.              (Doc. 131).          The motion has been
fully briefed and is ripe for decision (Docs. 131, 156, 183).                          The
court conducted an evidentiary hearing on this matter on August 30,
2005.    Defendants’ motion is denied, for the reasons herein.
I.     FACTS
       On June 18, 2001, federal agents executed a search warrant on
defendants’ home. During the search, the agents seized items from the
home. This search is the subject of two separate motions to suppress.
(Docs. 132, 134).           An indictment was not returned following the
search.
        At the time the search warrant was executed, defendants were
represented by Jim Wyrsch. In February 2002, David Kelly, an attorney
from Mr. Wyrsch’s office, contacted Alan Metzger, an Assistant United
States    Attorney,    to     inquire   about      the      status    of   any     criminal
investigation pertaining to defendants.                Metzger informed Kelly that
he was planning to indict defendants in the near future.
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     In March 2002, Mr. Wyrsch and defendants met with Metzger.1
During    the   meeting,    Metzger   stated   that    he    planned   to   indict
defendants on mail fraud and medicare fraud in the near future.
Metzger did not offer a formal plea agreement to defendants at that
time.2    Metzger told Mr. Wyrsch that he would not indict until he had
outlined the case and understood all of the facts.
     In    June   2002,     Metzger   and   Mr.   Wyrsch     had   a   subsequent
conversation about a possible indictment.             Mr. Wyrsch had contacted
Metzger to check the status of the investigation because defendants
were involved in proceedings before the Behavioral Sciences Regulatory
Board (BSRB).     Metzger authorized Mr. Wyrsch to inform the BSRB that
a criminal indictment would occur in the near future.
     Ryan Filson, a special agent for Health and Human Services (HHS),
started investigating defendants in 2000.             Agent Filson closed the
criminal investigation against defendants in May 2003 in favor of a
civil monetary action.       As part of the civil action, Agent Filson and
two attorneys from HHS deposed defendants in June 2004.                During the
deposition, defendants invoked their Fifth Amendment rights and did
not respond to any questions.         Stephen Godek, counsel for HHS, told
defendants during the deposition that there were no pending criminal
investigations.     This was a true statement.


     1
       During his testimony, Mr. Wyrsch repeatedly stated that his
memory was not great or that he did not remember in response to
questions by both defense and government counsel. Mr. Wyrsch was not
trying to avoid answering counsels’ questions. He simply could not
recall particulars, which is hardly surprising.
     2
       Mr. Wyrsch testified that a formal offer was not made because
it is his practice to memorialize any formal offer and present it to
his client.
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      In   September     2004,    Assistant   United    States      Attorney      Tanya
Treadway phoned Agent Filson to ask him to reopen his criminal
investigation.         Treadway   informed    Filson    that     the    Civil   Rights
Division    of   the    Department    of     Justice    would      be   joining     the
investigation.    Filson then reopened the criminal investigation.                  The
government filed an indictment in November 2004.
II.   APPLICABLE LAW
      Claims for preindictment delay receive limited protection under
the Due Process Clause of the Fifth Amendment.                    United States v.
Johnson, 120 F.3d 1107, 1110 (10th Cir. 1997).                 "Preindictment delay
is not a violation of the Due Process Clause unless the defendant
shows both that the delay caused actual prejudice and that the
government delayed purposefully to gain a tactical advantage."                      Id.
“The burden of proof of making this showing is on the defendant.”
United States v. Engstrom, 965 F.2d 836, 839 (10th Cir. 1992); Perez
v. Sullivan, 793 F.2d 249 (10th Cir. 1986).               “Vague and conclusory
allegations of prejudice resulting from the passage of time and the
absence of witnesses are insufficient to constitute a showing of
actual prejudice. Defendant[s] must show definite and not speculative
prejudice, and in what specific manner missing witnesses would have
aided the defense.”       United States v. Trammell, 133 F.3d 1343, 1351
(10th Cir. 1998); see also United States v. Beszborn, 21 F.3d 62, 66
(5th Cir. 1994)(quoting United States v. Marion, 404 U.S. 307, 92
S.Ct. 455, 30 L.Ed.2d 468 (1971)(“There is no need to AAA guard against
mere possibility that AAA delays will prejudice the defense AAA since
statutes of limitation already perform that function.”))
            The Due Process Clause does not permit courts to abort

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     criminal prosecutions simply because they disagree with a
     prosecutor's judgment as to when to seek an indictment.
     Judges are not free, in defining due process, to impose on
     law enforcement officials our personal and private notions
     of fairness and to disregard the limits that bind judges in
     their judicial function. [The court’s] task is more
     circumscribed. [The court is] to determine only whether the
     actions complained of here, compelling [defendants] to
     stand trial after the Government delayed indictment to
     investigate further violates those fundamental conceptions
     of justice which lie at the base of our civil and political
     institutions and which define the community's sense of fair
     play and decency.
United   States   v.   Revada,   574   F.2d    1047,    1048-1049      (10th   Cir.
1978)(internal citations omitted).
III. ANALYSIS
     Defendants assert that due to the delay they have lost three
witness who would have testified favorably to the defense.                      One
witness, M.O., is living in Oregon and two of the witnesses, G.C. and
H.H., are deceased.        Defendants have proffered an affidavit from
M.O.’s guardian that states M.O. is in a weak health condition and
would be unable to travel to Kansas for a trial.              Defendants suggest
that M.O. would testify that the residents at Kaufman house were
working in the nude voluntarily and could leave the house freely.
Defendants, however, have failed to assert that this testimony would
be unique. Mr. Wyrsch testified that he interviewed residents who are
still living who will testify favorably to the defense.               “Cumulative
testimony cannot, as a matter of law, result in actual prejudice.”
United States v. Comosona, 848 F.2d 1110, 1114 (10th Cir. 1988).
Moreover, defendants have been free to make a Fed. R. Crim. P. 15
motion and, as defense counsel has pointed out, “have the right to
have compulsory process for obtaining witnesses in their favor.”
(Doc. 183 at 20).      Absent a showing that the evidence would not be

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cumulative, that the witness is unavailable and that a deposition is
impossible, the court finds that defendants have not demonstrated
actual prejudice from the perceived “loss” of M.O.’s testimony.
       Defendants allege the death of G.C. has caused actual prejudice
since “[o]nly GC would have been able to testify that he was allowed
to stop and that he was never forced to work.”                   (Doc. 131 at 12).
However, on the previous page of their motion, defendants assert that
M.O. would testify that the “residents were free to come and go” and
she “would have refuted any allegation of forced labor or involuntary
servitude.”      (Doc. 131 at 10-11).         The court fails to see how G.C.’s
testimony is not cumulative.          Moreover, the government has asserted
that none of the evidence seized shows G.C. working at the Kaufman
home and, in fact, G.C. appears to be too physically weak to work at
all.    Defendants have failed to rebut the government’s assertion.
       Defendants assert the death of H.H. has caused them actual
prejudice since H.H. would testify that the residents voluntarily
engaged in nude activities, “many group sessions occurred at which no
one was nude” and “Arlan Kaufman was an equal opportunity derider and
abuser” during group therapy.         (Docs. 131 at 12, 183 at 24).            Again,
the court fails to see how H.H.’s testimony is not cumulative.                    M.O.
will testify that the residents actions were voluntary and the other
living members of the group can testify as to whether they were
wearing clothes and to Arlan Kaufman’s demeanor during therapy.
Defendants argue that H.H. is unique in that he was not a resident of
the    Kaufman   house   and    can   refute     the    government’s      claim   that
defendants controlled the residents. However, defendants have failed
to assert how H.H. would rebut this claim. “Defendant[s] must be able

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to show definite and not speculative prejudice, and in what specific
manner missing witnesses would have aided his defense.” Comosona, 848
F.2d at 1114.
       Defendants have failed to meet their burden to make the required
showing of actual prejudice to their defenses.                    “The mere allegation
that       the   deceased    [G.C.   and    H.H.]    could        have    testified      for
[defendants] does not establish that [they] would have so testified
or that [their] testimony would have been helpful.”                      United States v.
McManaman, 606 F.2d 919, 923 (10th Cir. 1979).                    Defendants have only
speculated as to what the deceased residents’ statements would have
been, based on what appears to be Arlan Kaufman’s treatment notes.3
According to the government, H.H. thought Arlan Kaufman’s therapy was
a waste of time and that Arlan Kaufman was a “know it all.”                       (Doc. 156
at 15).      The government also asserts that G.C. would not have been a
competent witness since he was “mentally ill and had difficulty
staying focused.”           (Doc. 156 at 11).        Defendants have not refuted
these statements.        Moreover, defendants have failed to show that the
government had any information that G.C. and H.H.'s deaths were
imminent. McManaman, 606 F.2d at 923.
       Even if defendants could meet their burden to show actual
prejudice,       they   have   completely     failed    to   demonstrate          that   the

       3
       Defense counsel have failed to identify what the documents are
that they are referring to and who created them. (Doc. 131 at 11).
“Documentary evidence introduced in federal courts must be
authenticated under the provisions of Rules 901 or 902 of the Federal
Rules of Evidence. Specifically, the proponent of such evidence must
produce evidence sufficient to support a finding that the matter in
question is what its proponent claims.”      Amoco Production Co. v.
United States, 619 F.2d 1383, 1391 (10th Cir. 1980). Defendants have
not complied with this rule for many of the voluminous exhibits they
have attached to their numerous motions.
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government      purposefully    delayed    to     gain    a      tactical    advantage.
Defendants’ motion has asserted the following:
           The delay in bringing the indictment was more than
      negligent. State and federal prosecutors declined to file
      charges. Agents became frustrated and began pursuing civil
      remedies.    With Agent Filson present in the room, a
      government lawyer actually and falsely told the Kaufmans
      and their counsel during a deposition that there was no
      basis for the Kaufmans asserting their Fifth Amendment
      privilege against self-incrimination because there was no
      criminal investigation. Then, suddenly, with no apparent
      change in circumstances since the deposition, the
      government filed a complaint days before the statute of
      limitations ran. A one-count indictment followed and then
      a superseding indictment with 35 counts. This is more than
      ordinary   negligence    on   the   part   of   government
      representatives. It is unacceptable prosecutorial conduct
      that amount to a due process violation.
(Doc. 131 at 13-14)(internal citations omitted).                    Defendants’ reply
brief asserts that the false statement during the depositions was made
to trick defendants into making a statement and gain a tactical
advantage in the case.         (Doc. 183 at 2).
      During the hearing, however, Agent Filson testified that the
statement was not false.             Agent Filson had closed the criminal
investigation in 2003 in favor of the civil action.                  Agent Filson did
not reopen the criminal investigation until he was contacted by AUSA
Treadway in September 2004.          Moreover, Agent Filson testified that he
was never frustrated with the United States Attorney’s office for not
filing an indictment.
      Defendants have not presented any evidence that contradicts Agent
Filson’s testimony nor did they present any additional evidence during
the   hearing    to   support    a    finding    of   purposeful        delay    by   the
government.      Defendants could have subpoenaed AUSA Metzger, whose
office is in a building across the street from the courthouse, to try


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to support their claims.    Their failure to do so raises the inference
that Metzger’s testimony would not be favorable to them.             Mr. Wyrsch
testified that AUSA Metzger was not going to indict until he fully
understood the facts of the case.     “Uncertainty as to the validity or
strength of the prosecution's case is a legitimate reason for delay
in obtaining an indictment as is the availability and likelihood of
prosecution by another jurisdiction.” United States v. Pino, 708 F.2d
523, 528-29 (10th Cir. 1983)(quoting United States v. Revada, 574 F.2d
1047, 1050 (10th Cir. 1978); see also United States v. Lovasco, 431
U.S. 783, 794 n. 15, 97 S.Ct. 2044, 2051 n. 15, 52 L.Ed.2d 752 (1977).
Moreover, Mr. Wyrsch also testified that complex fraud cases can take
long periods of time to investigate and can frequently have different
agencies involved. “Investigative delay is fundamentally unlike delay
undertaken by the Government solely to gain tactical advantage over
the accused,” United States v. Revada, 574 F.2d 1047, 1050 (10th Cir.
1978), and an extensive period of time is not unreasonable in a
complex fraud case.    United States v. MacClain, 501 F.2d 1006, 1010
(10th Cir. 1974).      The government has asserted that during its
investigation tens of thousands of documents have been reviewed and
numerous witnesses have been interviewed.        Defendants have failed to
introduce evidence to rebut this assertion by the government and based
on the voluminous submissions by defendants, the court doubts that
such rebuttal evidence exists.
IV.   CONCLUSION
      Defendants have the burden to establish actual prejudice and
purposeful delay.   Since defendants have failed to meet their burden,
defendants’ motion to dismiss for preindictment delay is DENIED.

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  IT IS SO ORDERED.
  Dated this      2nd    day of September 2005, at Wichita, Kansas.


                                        s/ Monti Belot
                                        Monti L. Belot
                                        UNITED STATES DISTRICT JUDGE




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